Case 1:23-cr-00237-CJN Document 71 Filed 09/13/23 Page 1of 3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO.
v.
VIOLATIONS:
JAY JAMES JOHNSTON, :
ALAN MICHAEL ST. ONGE, > 18U.S.C. § 231(a)(3) and 2
KYLE KUMER, : (Civil Disorder)
WILLIAM STOVER, also known as : :
“JESSIE,” and : 180U.S.C. § 111(a)(1)
NATHAN EARL HUGHES :  (Assaulting, Resisting, or Impeding
: Certain Officers)
Defendants. : 180.S.C. § 1752(a)(1)
: (Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a

Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(E)

(Impeding Passage Through the Capitol

Grounds or Buildings)
INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia, JAY JAMES JOHNSTON,
ALAN MICHAEL ST. ONGE, KYLE KUMER, WILLIAM STOVER, also known as
“JESSIE,” and NATHAN EARL HUGHES committed and attempted to commit an act to
obstruct, impede, and interfere with a law enforcement officer, lawfully engaged in the lawful

performance of his/her official duties incident to and during the commission of a civil disorder
Case 1:23-cr-00237-CJN Document 71 Filed 09/13/23 Page 2 of 3

which in any way and degree obstructed, delayed, and adversely affected commerce and the
movement of any article and commodity in commerce and the conduct and performance of any
federally protected function.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,

Sections 23 1(a)(3) and 2)

COUNT TWO

On or about January 6, 2021, within the District of Columbia, NATHAN EARL
HUGHES did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer
and employee of the United States, and of any branch of the United States Government (including
any member of the uniformed services), and any person assisting such an officer and employee,
that is an officer from the Metropolitan Police Department, while such person was engaged in and
on account of the performance of official duties, and where the acts in violation of this section

involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1)) .

COUNT THREE
On or about January 6, 2021, in the District of Columbia, JAY JAMES JOHNSTON,
ALAN MICHAEL ST. ONGE, KYLE KUMER, WILLIAM STOVER, also known as
“JESSIE,” and NATHAN EARL HUGHES did knowingly enter and remain in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or. Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))
Case 1:23-cr-00237-CJN Document 71 Filed 09/13/23 Page 3 of 3

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, JAY JAMES JOHNSTON,
ALAN MICHAEL ST. ONGE, KYLE KUMER, WILLIAM STOVER, also known as
“JESSIE,” and NATHAN EARL HUGHES did knowingly, and with intent to impede and
disrupt the orderly conduct of Government business and official functions, engage in disorderly
and disruptive conduct in and within such proximity to, a restricted building and grounds, that is,
any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
. grounds, where the Vice President was and would be temporarily visiting, when and so that such
conduct did in fact impede and disrupt the orderly conduct of Government business and official
functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, JAY JAMES JOHNSTON,
-ALAN MICHAEL ST. ONGE, KYLE KUMER, WILLIAM STOVER, also known as
“JESSIE,” and NATHAN EARL HUGHES willfully and knowingly obstructed, and impeded
passage through and within, the United States Capitol Grounds and any of the Capitol Buildings.
(Impeding Passage Through the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(E))

A TRUE BILL:

FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
